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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION

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                           *
 UNITED STATES OF AMERICA, *          CR. 09-40029-17
                           *
               Plaintiff,  *
                           *
         vs.               *  REPORT AND RECOMMENDATION
                           *    ON DEFENDANT’S CHANGE
 JESUS GARCIA,             *           OF PLEA
 a/k/a “Chuy,”             *
                           *
               Defendant.  *
                           *
 ***************************************************


        This matter came before the court for a change of plea hearing on Monday, October 26,

 2009. The Defendant, Jesus Garcia, appeared in person and by his counsel, Jim Eirinberg, while the

 United States appeared by its Assistant United States Attorney, John Haak.

        The defendant consented in open court to the change of plea before a United States

 magistrate judge. This court finds that the defendant’s consent was voluntary and upon the advice

 of counsel. The government also consented to the plea hearing before a magistrate judge.

        Defendant has reached a plea agreement wherein he intends to plead guilty to the Second

 Superseding Indictment which charges him with Conspiracy to Distribute and Possess with Intent

 to Distribute a Controlled Substance in violation of 21 U.S.C. §§ 841(a)(1) and 846.       At the

 hearing, the defendant was advised of the nature of the charges to which the defendant would plead

 guilty and the maximum penalties applicable, specifically: mandatory minimum 10 years

 imprisonment; maximum life imprisonment; a $4 million fine; or both; mandatory minimum 5 years

 supervised release; 5 additional years imprisonment if supervised release is revoked; and a $100

 special assessment.
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        Upon questioning the defendant personally in open court, it is the finding of the court that

 the defendant is fully competent and capable of entering an informed plea, that the defendant is

 aware of the nature of the charges and the consequences of the plea, and that his plea of guilty to the

 Second Superseding Indictment is a knowing and voluntary plea supported by an independent basis

 in fact containing each of the essential elements of the offense. The defendant’s guilty plea to the

 Second Superseding Indictment is accepted. It is my report and recommendation that the defendant

 be adjudged guilty of that offense.

                                       NOTICE TO PARTIES

        The parties have ten (10) days after service of this Report and Recommendation to file

 written objections pursuant to 28 U.S.C. § 636(b)(1), unless an extension of time for good cause is

 obtained. Failure to file timely objections will result in the waiver of the right to appeal questions

 of fact. Objections must be timely and specific in order to require de novo review by the District

 Court. Thompson v. Nix, 897 F.2d 356 (8th Cir. 1990); Nash v. Black, 781 F.2d 665 (8th Cir. 1986).

        Dated this 26th day of October, 2009.

                                                BY THE COURT:

                                                s/John E. Simko

                                                __________________________________________
                                                John E. Simko
                                                United States Magistrate Judge




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